        Case 1:20-cv-00821-WJ-KRS Document 3 Filed 10/19/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


JOSHUA TINSLEY,

               Plaintiff,

vs.                                                    No. CV 20-00821 WJ/KRS

AMTRAK, et al.,

               Defendants.

                               ORDER TO CURE DEFICIENCY

       Plaintiff submitted an Application to Procced Without Prepaying Fees or Costs. (Doc. 2).

The Court determines that Plaintiff’s Application is missing the required certified copy of

Plaintiff’s inmate account statement for the 6-month period immediately preceding this filing.

See 28 U.S.C. § 1915(a)(2). Section 1915 states:

               “A prisoner seeking to bring a civil action . . . shall submit a certified
               copy of the trust fund account statement (or institutional equivalent)
               for the prisoner for the 6-month period immediately preceding the
               filing of the complaint. . .”

28 U.S.C. § 1915(a)(2). The standard form application to proceed under § 1915 also requires:

               “If you are a prisoner, you must attach a statement certified by the
               appropriate institutional officer showing all receipts, expenditures,
               and balances during the last six months in your institutional accounts.
               If you have multiple accounts, perhaps because you have been in
               multiple institutions, attach one certified statement of each account.”

(emphasis added). Plaintiff has not submitted the certified inmate account statement as required

by § 1915(a)(2) and the application form. Plaintiff did submit a document titled “Individual Needs

Plan” containing limited financial information. (Doc. 2 at 6-8). However, the document is not an

account statement setting out all receipts, expenditures, and balances during the last six months in
        Case 1:20-cv-00821-WJ-KRS Document 3 Filed 10/19/20 Page 2 of 2




his institutional accounts. Failure to cure the designated deficiency within thirty (30) days from

entry of this Order may result in dismissal of this action without further notice.

       IT IS THEREFORE ORDERED that Plaintiff cure the designated deficiency by submitting

the required certified copy of Plaintiff’s inmate account statement for the 6-month period

immediately preceding this filing within thirty (30) days from the date of this Order.




                                              ________________________
                                              ___________________________________
                                              KEVIN R. SWEAZEA
                                              UNITED STATES MAGISTRATE JUDGE




                                                  2
